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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 AIR CANADA AND AEROPLAN INC.,

                        Plaintiffs,                            C.A. No. 23-1177-GBW

                  v.


 LOCALHOST LLC,

                        Defendant.


                  PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs Air Canada and Aeroplan, Inc. (“the Air Canada Group”), by their attorneys,

move the Court pursuant to Federal Rule of Civil Procedure 65, for entry of a preliminary

injunction against Defendant Localhost, LLC, enjoining it from violating the Terms of Use of the

Air Canada Group’s website and mobile app by scraping data from the Air Canada Group’s

website and mobile app for commercial purposes.

        This motion is made on the grounds that (1) the Air Canada Group is likely to succeed on

the merits of its breach-of-contract claim, (2) the Air Canada Group will be irreparably harmed if

preliminary injunctive relief is not granted, (3) the threatened injury to the Air Canada Group if

Localhost continues its unauthorized data scraping outweighs any damage to Localhost if an

injunction should issue, and (4) the public interest will be served by issuance of a preliminary

injunction.

        In support of its motion, the Air Canada Group respectfully submits the accompanying

Opening Brief in Support of Motion for Preliminary Injunction; the Declarations of Derek

Whitworth, Paul Clark, and Evan Nuttall with accompanying exhibits; and a Proposed

Preliminary Injunction Order.

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 Dated: December 21, 2023                 MCCARTER & ENGLISH, LLP

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